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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-cv-2680-NYW-SKC


   ROCKY MOUNTAIN GUN OWNERS,
   NATIONAL ASSOCIATION FOR GUN RIGHTS,
   CHARLES BRADLEY WALKER,
   BRYAN LAFONTE,
   GORDON MADONNA,
   JAMES MICHAEL JONES, and
   MARTIN CARTER KEHOE,

          Plaintiffs,

   v.

   THE TOWN OF SUPERIOR,
   CITY OF LOUISVILLE, COLORADO,
   CITY OF BOULDER, COLORADO, and
   BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,


          Defendants.


                                     Declaration of Dennis Baron


          I, Dennis Baron, declare as follows:

          1.     I am over the age of 18 years of age and competent to testify to the matters stated
   below and do so based on my personal knowledge.

           2.     Attachment A is a true and accurate copy of my expert report in the above-
   captioned matter. It contains the opinions to which I would testify if called upon as a witness in
   the above-captioned matter, and I declare under penalty of perjury that it is true and correct to the
   best of my knowledge.

         I declare under penalty of perjury that the foregoing is true and correct to the best of my
   knowledge.

         Executed on this 11 day of October, 2023
         at Champaign         ,   IL


                                                                 Dennis Baron
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


     Civil Action No. 22-cv-2680


      ROCKY MOUNTAIN GUN OWNERS,
      NATIONAL ASSOCIATION FOR GUN RIGHTS,
      CHARLES BRADLEY WALKER,
      BRYAN LAFONTE,
      CRAIG WRIGHT,
      GORDON MADONNA,
      JAMES MICHAEL JONES, and
      MARTIN CARTER KEHOE,

            Plaintiffs,

      v.

      THE TOWN OF SUPERIOR,
      CITY OF LOUISVILLE, COLORADO,
      CITY OF BOULDER, COLORADO, and
      BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,



            Defendants.



                                Expert Report of Dennis Baron
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          1.      I have been retained by the Town of Superior, Colorado, the City of Louisville,

   Colorado, the City of Boulder, Colorado, and the Board of County Commissioners of Boulder

   County, Colorado, to provide expert opinion and testimony regarding corpus linguistics research. I

   am being compensated at a rate of $350 per hour.

          2.      I have examined the historical use of the terms arms and accoutrements in order to

   determine whether magazines, including large-capacity magazines (henceforth, LCMs), were

   considered arms during the Founding Era (1750–1820) and the period surrounding Reconstruction

   and the ratification of the Fourteenth Amendment (1868–1890). Because the term “magazine” was

   not generally used to describe a “bullet container” until well into the nineteenth century, I also

   evaluated the lexical evidence for the analogous ammunition cases in use before “magazine”

   became the common term: “cartridge case,” “cartridge box,” or “cartouch case, or box.”

          3.      I have also examined the lexical evidence for “repeater air guns,” which are

   sometimes referred to as “wind guns,” and the rare terms “magazine wind-gun” and “magazine

   gun” in the Founding Era. “Air guns” used compressed air instead of gunpowder to propel a ball.

   Repeater air guns were capable of firing multiple shots before requiring the user to reload the

   weapon.

          4.      The lexical evidence leads me to conclude that (1) magazines (including what we

   would call LCMs today), as well as ammunition cases, cartridge cases, boxes and other

   ammunition storage containers, were considered accoutrements or accessories and not arms during

   the Founding and Reconstruction Eras; (2) although a few artisans did invent air guns capable of

   firing multiple balls without reloading the ammunition or recharging the air cylinder, such guns



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   were rare in England and America; (3) although magazine guns were patented as early as 1860,

   they remained military weapons during and shortly after the Civil War, with only a few references

   to them in the corpora before the 1880s.



   BACKGROUND AND QUALIFICATIONS

          5.      I am currently Professor Emeritus and Research Professor at the University of

   Illinois, where I have served as a member of both the Department of English and the Department

   of Linguistics since 1975. I served as Head of the Department of English for six years and before

   that as Director of Rhetoric at the University for 11 years. I earned my Ph.D. in English language

   and literature from the University of Michigan in 1971, with a dissertation on historical aspects of

   the English language from Old English to Present-Day English, and I continue to publish widely

   on matters of historical language use, in addition to topics related to language and law. I am a life

   member of the Linguistic Society of America, the American Dialect Society, and the Modern

   Language Association, as well as a member of the National Council of Teachers of English. I have

   held a Fulbright Fellowship (to France), a National Endowment for the Humanities Fellowship for

   work on a book on language and law, and, most recently, a Guggenheim Fellowship for work on

   my latest book on language and law. I have also published books on language reform, on usage,

   and on gender in language.

          6.      Most relevant for this report, I published two books on language and law: The

   English-Only Question: An Official Language for Americans? (Yale Univ. Press, 1990) and You

   Can’t Always Say What You Want: The Paradox of Free Speech (Cambridge Univ. Press, 2023).

   In addition, I served as lead author on what came to be called “the Linguists’ Brief” in District of


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   Columbia v. Heller, 554 U.S. 570 (2008), a brief cited both by Justice Scalia in the majority

   opinion, and by Justice Stevens in his dissent. I was a co-author on another brief by professors of

   linguistics and corpus linguistics, cited in New York State Rifle and Pistol Ass’n. v. Bruen (No. 20-

   843, 2022), which Justice Breyer cited in his dissent. In that dissent, Justice Breyer also quoted

   directly from my essay “Corpus Evidence Illuminates the Meaning of ‘Bear Arms’” (Hastings

   Constitutional Law Quarterly, 46.3: 2019). I have spoken about historical meaning and the Second

   Amendment at the Federalist Society at the University of Chicago Law School, at the Neubauer

   Symposium on Historical Semantics at the University of Chicago, at Brigham Young University

   Law School, at Stanford University, and at the conference “Heller after Ten Years” at Hastings

   College of Law. I have also written opinion essays on historical meaning and the Second

   Amendment for the Washington Post and the Los Angeles Times. And I have submitted

   declarations and reports in the following cases: Ocean State Tactical, LLC, et al. v. State of Rhode

   Island, No. 1:22-cv-00246-JJM (D. R.I.); Hanson, et al, v. District of Columbia, et al., No. 1:22-

   cv-02256-RC (D.D.C.); Delaware State Sportsmen’s Association, Inc., et al., v. Delaware

   Department of Safety and Homeland Security, No. 1:22-cv-00951-RGA (consolidated) (D. Del.);

   National Association for Gun Rights and Capen v. Baker, No. 22-cv-11431-FDS (D. Mass.);

   NAGR and Flanigan v. Lamont, et al., No. 3:22-cv-1118 (D. Conn.); NAGR, et al., v. Lopez, No.

   1:22-cv-404-DKW (D. Haw.); Oregon Firearms Fed’n, et al., v. Kotek, et al., No. 2:22-cv-01815-

   IM (consolidated) (D. Or.); Rupp, et al. v. Bonta, No. 8:17-cv- 00746-JLS (C.D. Cal.); Duncan, et

   al. v. Bonta, No. 3:17-cv-01017-BEN (S.D. Cal.); Fouts, et al. v. Bonta, No. 3:19-cv-01662-BEN

   (S.D. Cal.); Wiese v. Bonta, No. 2:17-cv-00903-WBS (E.D. Cal.); Gates v. Polis, No. 1:22-cv-

   1866-GPG (D. Colo.); Barnett v. Raoul, No. 3:23-cv-0209-RJD (consolidated) (S.D. Ill.); Herrera


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   v. Raoul, No. 23-cv-532 (N.D. Ill.); and Sullivan, et al. v. Ferguson, et al., No. 22-cv-5403 (W.D.

   Wash.). In the past twenty years I have also served as an expert in fourteen cases involving

   document interpretation. A copy of my curriculum vitae is attached as Exhibit A.

          7.      My recent essay, “Look It Up in Your Funk and Wagnalls: How Courts Define the

   Words of the Law,” an analysis of how judges incorporate information from dictionaries and

   digitized corpora as they ascertain legal meaning, appears in Dictionaries: Journal of the

   Dictionary Society of North America, vol. 43.2 (2022): 95–144.

          8.      This report is made based on my professional knowledge and expertise, and on my

   research using accepted scientific linguistic methodology in the field of corpus linguistics, the

   analysis of one or more large, digitized corpora consisting of many millions of words.




   OPINIONS

          Summary of Opinions

          9.      Historical evidence from a number of large textual databases, or corpora, shows

   that during the Founding Era and the Reconstruction Era, “arms” is used as a general term for

   weapons (typically swords, knives, rifles, and pistols), but arms does not include ammunition,

   ammunition containers, flints, scabbards, holsters, armor, or shields, which are included in the

   category “accoutrements.” Nor does “arms” refer to parts of weapons, for example the trigger of a

   gun, the hilt of a sword, or the cartridge box or fixed or removable magazine that holds the bullets.

          10.     Instead, when this additional equipment is mentioned, we find phrases like “arms

   and ammunition”; “arms and accoutrements”; or “arms, ammunition, and accoutrements.” The

   phrase “arms and accoutrements” is frequently used in military contexts to distinguish weaponry

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   and related equipment from the rest of a soldier’s or militia member’s equipment. For example,

   militia requirements often specify that soldiers have certain arms (pistols, swords, rifles, according

   to their rank) as well as certain “accoutrements” (the word is typically plural), including horses,

   saddles, cartridge cases or boxes, scabbards, flints, and so on. “Cartridge boxes” and “cartouch

   boxes” are the terms used for ammunition containers in the eighteenth and nineteenth centuries

   and are analogous to today’s “magazines.” When “arms and accoutrements” occurs as a phrase,

   there is a clear distinction made between weapons themselves and the soldier’s cartridge boxes or

   cartouch boxes, which are typically identified as accessories along with scabbards, saddles,

   holsters, belts, caps, pouches, and the rest of a soldier’s equipment. When the term

   “accoutrements” occurs alone, as in “the accoutrements of a soldier,” it functions as a general term

   that may include both arms and accessories.

          11.     I have found no lexical evidence that repeater air guns were used as military

   weapons in England or America in the Founding Era, or that they were used as weapons of personal

   self-defense at that time.



          Theory and Methodology

          12.     Corpus linguistics as a field developed in the late 1960s, when scholars began using

   computer programs to analyze large bodies of digitized text. Initial work in corpus linguistics did

   not typically involve legal issues. Literary scholars, taking advantage of the ability of computers

   to search large digitized databases, facilitated their analysis of print materials by developing

   computerized concordances to the works of Shakespeare, Milton, and other major English writers.

   They plotted the frequency of words and phrases in order to develop a picture of an author’s style,

   and to determine authorship of a particular work when the provenance was in doubt. Soon, in
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   addition to solving literary mysteries, linguists successfully applied computerized textual analysis

   in a number of criminal cases in the United States and in England involving, for example, the

   authorship of a ransom note or an email. Lexicographers, who began compiling analog databases

   of text in the late nineteenth century, began to digitize their analogue data and to add to that

   material, assembling computerized databases of historical and contemporary text and, more

   recently, of spoken language as well, in order to arrive at more precise definitions of the multiple

   senses of words and phrases.

          13.     The Oxford English Dictionary (OED) is the standard dictionary of the English

   language compiled on historical principles. As a graduate student at the University of Michigan in

   1970, I coded analog texts from the relevant OED files to help build the computerized database

   for the Dictionary of Early Modern English, the period from 1500–1800 that is particularly relevant

   to the language of the Founding Era. Today, major dictionaries like the OED and the Merriam-

   Webster suite of dictionaries rely on public databases of oral and written language, as well as their

   own proprietary databases, in order to revise older definitions and to track the spread of new words

   and meanings. The major dictionary makers working on other languages use similar databases in

   their own work.

          14.     Over the past twenty years, legal corpus linguistics (LCL) has developed as a subset

   of corpus linguistics. LCL involves the analysis of digitized corpora of current and historical

   English to establish meaning—often referred to as “original public meaning”—in statutes and in

   the Constitution. LCL often provides more information about the meaning of words and phrases

   than can be gleaned from dictionary definitions. Over the past decade, LCL has become an

   important tool in helping to determine original public meaning when such meaning is in doubt. In


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  Muscarello v. United States, 524 U.S. 125 (1998), we find an early use of computer searching to

  help determine the meaning of a word in a statute. In Muscarello, the Supreme Court considered

  whether “a person who knowingly possesses and conveys firearms in a vehicle, including in its

  glove compartment or trunk, can be deemed to be within the scope of the statutory phrase ‘carries

  a firearm.’” To answer that question in the affirmative, Justice Breyer searched two computerized

  newspaper databases (Lexis/Nexis, for the New York Times, and Westlaw, for “US News”) to

  clarify the meaning of the words “carry,” “vehicle,” and “weapon.” In 2012, Judge Richard Posner,

  of the Seventh Circuit, was perhaps the first jurist to use a general internet search in order to

  determine a word’s meaning in a statute. Not satisfied with the dictionary definition that the

  government relied on in the case before him, Judge Posner ran a Google search to confirm that the

  word “harbor” in the Immigration Act of 1917 does not mean ‘shelter,’ as the government claimed,

  but rather ‘hide, conceal from view,’ as he felt it must mean in the context of the statute. United

  States v. Costello, 666 F.3d 1040 (7th Cir. 2012).

         15.     More principled, scientific database searches soon followed, and in 2018 Judge

  Thomas Lee, of the Utah Supreme Court, a long-time champion of corpus linguistics, together

  with the legal scholar Stephen Mouritsen, summarized the latest research in corpus linguistics and

  LCL as a way to determine ordinary meaning, and more specifically, original public meaning, with

  more clarity (Thomas Lee and Stephen Mouritsen, “Judging Ordinary Meaning,” Yale Law Journal

  127(2018): 788–879). Jurists over the past few years have found that in several cases, LCL proves

  more useful than the period dictionaries (for example, the dictionaries of Samuel Johnson and

  Noah Webster) that courts have often relied on to determine historical meaning. LCL often




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  supplements the historical interpretations found in older dictionaries and in the Oxford English

  Dictionary, as well, allowing a more precise interpretation of historical text data.

             16.     In addition to the publication of several significant law review articles by experts

  in the field of corpus linguistics, there have been several conferences on legal corpus linguistics in

  the past few years, and a number of continuing-education seminars on LCL are now offered for

  judges and lawyers. As a result, corpus linguistics has drawn increased attention from the courts,

  including recent mentions in decisions in the Sixth, Seventh, and Ninth Circuits, as well as a

  comment by Justice Alito in his concurrence in Facebook, Inc. v. Duguid, 141 S. Ct. 1163 (2021),

  where he suggested that LCL may one day provide a useful alternative to the canons of

  interpretation.

             17.     Several large databases have come online in the past few years that facilitate LCL

  research. Brigham Young University’s Center for Law and Corpus Linguistics hosts the Corpus of

  Founding Era American English (COFEA), with more than 126,000 texts, comprising close to 137

  million words and covering the years 1760–1799. BYU’s Corpus of Early Modern English

  (COEME), with data from 1475–1800, contains over 40,000 texts and 1.1 billion words.1 For the

  nineteenth century, the Corpus of Historical American English (COHA), initially developed at

  BYU but now independent of that institution, currently contains 475 million words of text from

  1820–2020.2 The size of these databases continues to grow as more works are digitized, coded,

  and added to the corpora. In compiling this report, I reviewed each of these databases. Some of the

  corpora provided data for some lexical searches, but not for others. The examples cited in this

  report specify which corpus they are drawn from.


  1
      COFEA and COEME are available here: https://lawcorpus.byu.edu/ (last accessed April 19, 2023).
  2
      COHA is available here: https://www.english-corpora.org/coha/ (last accessed April 19, 2023).
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         18.     Critics of LCL have objected that databases like COFEA and COEME contain only

  texts written by “elites,” whose language may differ from that of “ordinary people” who do not

  write at all, or who for various reasons do not write texts likely to be included in the available

  corpora. It is certainly the case that many printed books and periodicals, along with documents like

  the Constitution, its amendments, and state and federal statutes, tend to be written by educated

  specialists and professional writers. Although “ordinary people” are expected to understand the

  language of the Constitution, the Declaration of Independence, and other founding documents, as

  well as the laws that govern the nation, such texts typically require specialized knowledge. A

  reading-difficulty formula like the commonly used Flesch-Kincaid scale suggests that the

  Declaration of Independence and the Constitution require a fifteenth-grade reading level, while

  according to one comprehensive study, Adult Literacy in America (National Center for Education

  Statistics, U.S. Department of Education, 1993; https://nces.ed.gov/pubs93/93275.pdf), the

  average American adult tends to have a seventh- or eighth-grade reading level. The National

  Center for Education Statistics no longer uses “grade level,” instead rating literacy levels for

  Americans between ages 16 and 65 on a scale from 1 to 5; measurements conducted in 2003

  showed no significant change from the 1993 NCES report; and the most recent data, from 2014,

  confirm that most adult Americans still test at or below level 2, with 4.1% testing below level 1

  (https://nces.ed.gov/pubs2019/2019179/index.asp).

         19.     In order to counter any “elite” bias that may be found in databases like COFEA,

  COEME, and COHA, I rely as well on five digitized newspaper databases covering the period

  1750–1900, focusing for this report on the Founding Era and on the period of Reconstruction after

  the passage of the Fourteenth Amendment. Newspapers of the eighteenth and nineteenth centuries


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  were the principal means of communicating news and information. As such, they embodied much

  of the language of the “ordinary people” who read them. These early newspapers also provide

  researchers with more data for the nineteenth century than a corpus like COHA, which covers the

  same period but tends to focus on literary and specialized texts rather than material for the general

  reader. Because of changes in print technology and the spread of literacy, Founding Era

  newspapers differed from the newspapers of the post-Civil War era. Print technology remained

  relatively static between the 1450s, when printing presses first appeared in Europe, and the early

  nineteenth century, when the Industrial Revolution drastically changed printing methods. The first

  printing press was adapted by Gutenberg from the design of the traditional wine press, and for

  centuries, printing was a slow and labor-intensive process. As a result, newspapers in the founding

  era were small, averaging four to eight pages. Publication was less frequent as well. Papers tended

  to appear weekly or semi-weekly, rather than daily. Even so, newspapers in the Founding Era and

  later, during Reconstruction, provided average Americans with their principal access to all the

  critical events and documents of their time, along with coverage of local and international news.

  Although newspaper subscribers tended to be “elites,” newspaper content was widely shared by

  word of mouth: ultimately, most Americans in the Founding Era, including those who would be

  classified as illiterate or poorly educated by today’s standards, got their news from newspapers.

         20.     Since the 1960s, database compilers have been able to track contemporary spoken

  English more successfully, though none of the databases for the Founding Era and for the post-

  Civil War period cover the spoken language of Americans. Although scholars can reconstruct some

  of that oral language, we are always doing so through the lens of print versions purporting to

  represent or comment on ordinary speech.


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          21.      The newspaper databases that I have examined are Readex Historical American

  Newspapers;3 Chronicling America (newspapers digitized by the Library of Congress);4 the British

  Newspaper Archive (compiled by the British Library);5 and two private subscription services,

  newspapers.com and newspaperarchive.com. For this report, both Readex and newspapers.com

  provide the most-complete picture of the language of the Founding Era newspapers as well as the

  ordinary language of the later nineteenth century.

          22.      All the databases contain some duplicates. COFEA and COEME digitize multiple

  editions of the same work; and the newspaper databases not only duplicate some, though not all,

  of one another’s content, but they also contain a number of duplicate stories because, particularly

  in the period of newspaper growth during the nineteenth century—in an age before the wire

  services and syndication appeared, and before the larger papers began to set up news bureaus in

  key areas around the country and around the world—newspapers routinely printed each other’s

  stories, sometimes acknowledging their source and sometimes not. I exclude duplicate citations

  from all my corpus searches. The databases often offer more insight into the meaning of words

  and phrases than simply going to a dictionary. Jurists from Learned Hand and Felix Frankfurter to

  Frank Easterbrook and Richard Posner have warned their colleagues not to make a fortress of the

  dictionary. Like dictionaries, corpora are by necessity incomplete. LCL does not replace

  dictionaries, but it does provide an important supplement to them. Typical LCL analyses are

  conducted using a keyword and a few words surrounding it, to supply context. Sometimes such a

  limited cite is ambiguous. And sometimes, a search of the data set returns only small number of



  3
    Available here: https://www.readex.com/products/americas-historical-newspapers (last accessed April 19, 2023).
  4
    Available here: https://chroniclingamerica.loc.gov/ (last accessed April 19, 2023).
  5
    Available here: https://www.britishnewspaperarchive.co.uk/ (last accessed April 19, 2023).
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  citations, perhaps ten or twenty rather than a few hundred. In such cases, I supplement my use of

  LCL with a reading of the full context of the citations in order better to determine the keyword’s

  meaning and the relevance of the citation to the search question.



          The meaning of arms and accoutrements in the databases

          23.    In this report I look at the meaning of “arms” and “accoutrements” as used

  individually, along with the phrase “arms and accoutrements” in the Founding Era and during the

  period following the adoption of the Fourteenth Amendment. I focus on whether the term

  “magazine” as used today falls within the meaning of the term “arms” when used on a standalone

  basis during those eras, or whether the magazine and its earlier analogues, the cartridge case and

  cartouch box, are treated as accessories or accoutrements. I look as well at lexical evidence in the

  Founding Era on the “air rifle,” or “air gun,” and assess any lexical evidence about the availability

  and popularity of the repeater air gun and the use of the term “magazine” in association with such

  guns.

          24.    In the eighteenth and nineteenth centuries, “magazine” was a word that meant

  “storehouse, depot.” A magazine was a place, often a building or warehouse, to store goods and

  supplies. When used in a military sense, a magazine was a building designated for storing

  gunpowder, and because gunpowder was an explosive substance, it was subject to strict regulation:

  some towns banned or heavily regulated the storage of gunpowder within city limits. The word

  “magazine” was not typically used to refer to the compartment of a gun containing bullets until

  late in the nineteenth century. Although the term “magazine” appears in the phrase “magazine




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  wind gun” in 1744, that usage is marked as “rare” by the Oxford English Dictionary, which also

  marks the phrase “magazine wind gun” as “obsolete.”

          25.     There are some references to “magazine guns,” “magazine rifles,” or “magazine

  carbines” that appear as early as 1860, when C. M. Spencer received a patent for a “magazine gun”

  (U.S. Patent No. 27,393, March 6, 1860). B. T. Henry patented a “magazine fire arm” that same

  year (U.S. Patent No. 30,446, Oct. 16, 1860). And N. King patented another “magazine fire arm”

  in 1866 (U.S. Patent 55,012, May 22, 1866). But in its separate, main entry for “magazine,” the

  OED gives the earliest use of “magazine” meaning “a bullet storage container” as 1868, typically

  associated with weapons designed for military rather than civilian use. As explained in more detail

  below, the use of the term “magazine” to refer to a bullet storage container remained relatively

  rare until the 1920s.

          26.     Before that time, bullets were kept in “cartridge boxes”, sometimes called “cartouch

  boxes”, “cartridge cases” or pouches. The data suggests that “cartridge boxes,” analogous to

  today’s LCMs, would have been viewed as accoutrements, the ancillary equipment associated with

  soldiering, or service in the military.

          27.     The OED defines “accoutrements” as, “items of apparel; (more generally)

  additional pieces of dress or equipment, trappings; (Military) the outfit of a soldier other than

  weapons and garments.” [OED online, s.v. “accoutrement”; the word typically appears as a plural.]

          28.     Thus, the military sense of “accoutrements” generally refers, not to weapons, but

  to other accessories worn or carried by soldiers. The OED illustrates this second, military, sense,

  with an example from the Duke of Wellington’s dispatches in 1813: “In order to collect the

  wounded and their arms and accoutrements.” Here Wellington, widely recognized as a


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  consummate soldier, and who would soon defeat Napoleon at the Battle of Waterloo in 1815,

  makes a clear distinction between “arms” and “accoutrements.”

         29.      The OED definitions are instructive. But in order to determine more specifically

  whether the term “accoutrements” included “cartridge boxes,” the predecessor to modern

  magazines, I consulted two digitized historical databases: COFEA and COEME. A COFEA search

  returns these examples where “cartridge boxes” and “cartouch boxes” are specifically included in

  the category of accoutrements, not arms:

               a) 1774 – “The cartouch boxes and other military accoutrements belonging to the
                  noncommissioned officers and privates.…” (Journals of the Continental Congress).

               b) 1774 – “The cartouch boxes and every other species of military accoutrements
                  annexed to the persons of the officers and soldiers of General Burgoyne’s army.”
                  (Journal of the Continental Congress).

               c) 1776 – “The General is surprised to find the Militia applying for Cartouch Boxes
                  and other Accoutrements.” (George Washington, General Orders, February 17).

               d) 1777 “Many of their Arms are indifferent, and almost the whole [of Washington’s
                  troops] are destitute of pouches and Other necessary Accoutrements.” (George
                  Washington, Letter to John Hancock, October 10–11; the pouches in question are
                  ammunition holders).

               e) 1777 – “The officers and men were to … deliver up their arms, the cartouch boxes
                  and other military accoutrements….” (William Duer, Congressional Resolution: A
                  State of Facts, December).

               f) 1778 – “[T]he board, on the 17th of April, impowered a Capt. Starr of Middleton in
                  Connecticut to receive a quantity of public leather of Colo. Trumbull, and get it
                  made up into shoes and accoutrements, half of each, the cartridge boxes upon the
                  new model; and to send on both to the main army….” (Timothy Pickering, Letter
                  to George Washington, June 9, 1778. At the time, cartridge boxes were made of
                  wood or leather, or a combination of the two).

               g) 1783 – “And as to cartridge boxes and other leathern accoutrements, saddles &
                  other furniture for dragoons….” (Timothy Pickering, Letter to George Washington,
                  April 22).



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         30.      And COEME adds this example, where “cartridge box” appears in a list that

  includes “accoutrements” but not “arms”:

               a) 1788 – “If you could only tell us how to keep papa at home, my drum, spontoon,
                  cartouch box, and accoutrements, should all be yours.” (The Children’s Friend,
                  Translated from the French).

         31.      My review of the corpora also confirmed that “accoutrements” are regularly

  referred to separately from “arms.” A COFEA search for the occurrence of “accoutrements” within

  6 words of “arms” returned 873 hits (including a small number of duplicates). A similar search of

  COEME returned 126 hits, the earliest from 1656. I determined that the two search terms, “arms”

  and “accoutrements,” often appear together as a single phrase, “arms and accoutrements,” typically

  in military contexts having to do with an army or militia unit. “Accoutrements” often occurs in a

  list alongside, but separate from, ammunition: “arms, accoutrements, (and) ammunition,” though

  when ammunition is not listed separately, the term “accoutrements” will generally include

  ammunition. The second OED citation for “accoutrements,” dated 1902, differentiates

  “ammunition” from “accoutrements”: “When they landed they brought on shore besides a quantity

  of ammunition and accoutrements…and large stores of flour, sugar and tobacco, &c.” (G. S.

  Whitmore Last Maori War i. 4).

         32.      “Arms” as a stand-alone term refers to weapons. “Arms” almost never includes

  ammunition or ammunition storage containers such as cartridge boxes. These are the three

  examples that a COHA search returns:

               a) 1821 – “It is necessary to obtain ammunition, arms and accoutrements, and as many
                  horses as you can get” (William Dobein James, “A Sketch of the life of Brig. Gen.
                  Francis Marion and a history of his brigade”).

               b) 1909 – “Lyon was ordered to deliver to Governor Yates 10,000 stand of arms with
                  accoutrements and ammunition.” (Robert J. Rombauer, “The Union Cause in St.
                  Louis in 1861).
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                c) 1949 – “It will be necessary that arms, ammunition, accoutrements, tents and camp
                   equipage be deposited there for them the troops.” (Francis F. Beirne, “War of
                   1812”).

          33.      The “cartridge box” or “cartouch box”—the precursor to today’s “magazine”—is

  typically mentioned in lists of accoutrements, often in connection with other items worn with a

  soldier’s uniform. The “cartridge box” almost never appears to be included among a soldier’s

  weapons. The OED defines “cartridge box” as “a box for storing or carrying cartridges; the case

  in which a soldier carries his supply of cartridges” (OED online; this definition covers “cartouch

  box” as well). The OED cites the definition in Smyth and Belcher’s Sailor’s Word-Book (1867) to

  illustrate its function. Here is the full definition of “cartridge-box” in that dictionary of navy

  terminology: “a cylindrical wooden box with a lid sliding upon a handle of small rope, just

  containing one cartridge, and used for its safe conveyance from the magazine to the gun—borne

  to and fro by the powder-monkeys (boys) of old. The term is loosely applied to the ammunition-

  pouch” (Admiral W. H. Smyth and Vice-Admiral Sir E. Belcher, The Sailor’s Word-Book: An

  Alphabetical Digest of Nautical Terms, London, 1867; see ¶ 56, below, for the authors’ definition

  of “magazine” as a gunpowder storeroom either on land or on a ship).

          34.      A search of Readex America’s Historical Newspapers for “cartridge box,” and the

  synonymous “cartouch-box,” for the Founding Era years 1750–1790 returns 176 citations.

  including multiple duplicates. A Readex search for the period after the adoption of the Fourteenth

  Amendment, from 1868–1890, returns 1,306 citations, also with many duplicates. The following

  examples show instances where “cartouch boxes” or “cartridge boxes,” are categorically separate

  from arms or appear in the list of accessories to arms (examples (a), (b), (d), (e), (g), (h), (i)). Note

  that in example (d) the list separates small arms from cutlasses as well. And examples (f), (j), (k),

  (l) , (n), (o), (p), (q), and (r) clearly show that cartridge boxes are accoutrements, not arms:
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           a) 1756 – “Every such Male Person . . . provide himself with one well fixed Musket,
              or Fuzee, with a Worm and Priming Wire, one Cartouch Box, with nine charges of
              Gun Powder, and Ball suitable therein, and three good Flints … and shall keep such
              Arms and Ammunition by him, in good Order.” Pennsylvania Gazette, May 13,
              1756.

           b) 1774 – “That each man be provided with a good firelock and bayonet fitted thereon,
              half a pound of powder, two pounds of lead, and a cartouch box, or powder-horn
              and bag for ball, and be in readiness to act on any emergency.” Proceedings of the
              Continental Congress, Pennsylvania Journal, December 21, 1774.

           c) 1775 – “That each Inhabitant, or Person, as aforesaid, who shall provide Arms for
              himself, well fixed with a good Bayonet and Cartouch-Box, shall be paid a
              minimum of 10s.” The Massachusetts Gazette, May 19, 1775.

           d) 1775 – “We hear from Charlestown, South-Carolina, that on the 21st of March, at
              Night, about eight Hundred Stand of Small Arms, 2 Hundred Cutlasses, and all the
              Cartouch-Boxes, fit for Service, with several Bundles of Match & some Flints, were
              taken out of the public Armoury.” New Hampshire Gazette, June 2, 1775.

           e) 1775 – “Deserted from Colonel Woodridge’s regiment . . . Martin Nash . . . carried
              away a long gun of Gen. Pomeroy’s make, a cartridge box and good stock of
              ammunition belonging to the province.” New England Chronicle, November 9,
              1775.

           f) 1778 – “numbers of the cartouch-boxes and several other articles of military
              accoutrements annexed to the persons of the non-commissioned officers and
              soldiers in General Burgoyne’s army, have not been delivered up.” Massachusetts
              Spy, February 19, 1778.

           g) 1778 – “List of Necessaries and Accoutrements for each Horseman: 1. A well-
              tempered sword . . . 2. A carbine, fusee, or short blunderbuss ..... 3. A pair of pistols
              and holsters. 4. A sword-belt—a belt for the carbine ......5. A cartridge-box to buckle
              round the waist, with twelve tin pipes for the cartridges. 6. A helmet . . . 7. A
              saddle….” New-Jersey Gazette March 25, 1778.

           h) 1785 – “A Neapolitan officer was killed in the same engagement by a cartouch box
              taking fire while charging the guns.” South-Carolina Weekly Gazette, August 4,
              1785.

           i) 1787 – Abstract from the Militia Law. “That every non-commissioned officer and
              private soldier of the said militia . . . shall equip himself with a good fire-arm,
              with a steel or iron ramrod, a spring to retain the same, a worm, priming wire and
              brush, a bayonet fitted to his fire-arm, and a scabbard and belt for the same, a
              cartridge box that will hold fifteen cartridges at least, six flints, one pound of

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              powder, forty leaden balls suitable for his fire-arm, a haversack, blanket, and
              canteen.” Massachusetts Gazette, February 2, 1787.

           j) 1787 – “All persons liable to do Militia Duty . . . must provide themselves with
              proper arms and accoutrements, viz. a musket and bayonet, a cartouch box or pouch
              that will contain twenty-four cartridges.” State Gazette of South Carolina, July 16,
              1787.

           k) 1868 – “Government Sale at Watertown Arsenal Mass. . . . Lot of cavalry
              accoutrements, consisting of Cartridge Boxes, Pistol Holsters, Sabre Belts, Knots,
              &c.: lot of Infantry accoutrements, consisting of Bayonet Scabbards, Cap Pouches,
              Cartridge Boxes, Gun Slings.” Evening Star (Washington, D.C.), January 9, 1868.
              [Perhaps the clearest and most direct citation specifying cartridge boxes as
              accoutrements.]

           l) 1868 – Another government sale lists weapons (carbines, muskets, rifles, and
              pistols) followed by a list of items that are separate from weapons: “254 carbine
              cartridge boxes,” carbine slings, cavalry sabre belts, bayonet scabbards, cap
              pouches, “1,619 cartridge boxes,” “257 cartridge-box Belts,” gun slings, waist
              belts, “and various other articles.” Daily Morning Chronicle (Washington, D.C.),
              April 22, 1868.

           m) 1869 – This account describes the new French “Mitrailleuse,” a field weapon which
              would seem to be analogous to what we call a machine gun today, and the cartridge
              box would be the equivalent of what today we call a removable magazine. The
              Mitrailleuse is “a new ‘ball syringe’ in the shape of a small cannon. It contains
              thirty-seven common infantry cartridges, arranged like cigars in a bundle. As soon
              as it is attached to the breech of the cannon, the Mitrailleuse is loaded. A man sitting
              on the carriage fires it by turning a crank. The crank is turned once more and
              the cartridge box is removed from the cannon; a man to the right takes it, removes
              it from the ‘cigar box’; the men to the left put a new one in.” Daily Albany Argus,
              November 6, 1869.

           n) 1870 – In this description of the French National Guard, the writer notes the
              importance of rapid-fire rifles for defense against the Prussian troops. Several
              paragraphs later, the cartridge box is listed along with a guard’s uniform
              requirements: “a uniform will be obligatory for all. Each one must be provided with
              a weather-proof knapsack , a cartridge-box or pouch, and a half-woolen covering
              of the material of a tent.” New York Tribune, November 5, 1870.

           o) 1871 – Article about a memorial statue in which the cartridge box is identified as
              part of the soldier’s uniform: “a soldier dressed in full uniform (overcoat, cartridge
              box, belt, etc.,) leaning on his musket.” Boston Journal, November 12, 1870.



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               p) 1872 – This list of government ordnance and ordnance stores for sale groups
                  weapons and accoutrements separately, with cartridge boxes clearly identified as
                  accoutrements. The weapons for sale are muskets, rifled muskets, and revolvers,
                  followed by this comment, “Nearly all the Starr’s Revolvers and about two-thirds
                  of the other arms are in fair order.” After the arms list comes the list of
                  accoutrements, consisting of cap pouches, waist belts, bayonet scabbards,
                  “cartridge box and belt plates,” musket and pistol appendages, “and an assortment
                  of other accoutrements and appendages.” Daily Morning Chronicle (Washington,
                  D.C.), February 3, 1872.

               q) 1876 – In this description of a dead body of a soldier found on a beach, the cartridge
                  box is described as an article of the deceased’s uniform: “The body was clothed in
                  a blue overcoat and pants, and had on waist-belt, cross-belt and cartridge-box.”
                  Wilmington Morning Star (North Carolina), February 8, 1876.

               r) 1879 – The cartridge box forms part of a new military uniform: “In the rest of the
                  brigade the multiplicity of belts is done away with, and in place is substituted a
                  simple body belt to which the bayonet scabbard and cartridge box is attached.
                  Equipped in such a uniform . . . the brigade will present a solid and soldierly
                  appearance.” New Haven Register, July 28, 1879.

         35.      In sum, in the vast majority of examples, arms referred to weapons. Arms generally

  did not include ammunition or other weapon accessories, including the cartridge box, the historical

  analogue to the magazines. Instead, “cartridge boxes” and “cartouch boxes” were considered

  “accoutrements,” or accessories, like the other military equipment (scabbards, belts, and so forth)

  that was separate from, and did not include, arms.

         36.      But English usage is never simple. As linguists often put it, “all grammars leak”—

  which is to say, there are always a few counterexamples in the data. The existence of such outliers

  does not invalidate the data or undercut an interpretation, it simply shows that although the users

  of a language share a common sense of what words and grammatical constructions mean, variation

  in meaning and usage occurs in all human language. Given the volume of samples, that is not

  surprising. Thus, for example, as in this example from COFEA, “accoutrements” may occasionally

  encompass arms:

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         1789 – A few years since, some boys, equipped in mock military accoutrements, such as
         paper-caps, paper-belts, wooden swords, &c. were beating up for recruits in Parliament-
         street, Boston. [The American jest book: Part I[-II]; emphasis added; here military
         accoutrements includes toy swords.]

  In these four citations from the Readex newspaper corpus, it is not always clear from the context

  whether cartridge boxes are arms or accoutrements, or they are simply not being categorized:


             a) 1753 – “[E]very listed Soldier and other Householder . . . be always provided with
                a well-fix’d Firelock . . . a Snapsach, Cartouch Box, one Pound of Powder, twenty
                Bullets fit for his Gun, twelve Flints, a good Sword or Cutlass, a Worm and Priming
                Wire, on penalty of six Shillings for want of such Arms as is hereby required, and
                two Shillings for each other Defect.” Boston Post-Boy, April 30, 1753. Considering
                citation (c), below, dated 1756, it is likely that the fine for not having a cartouch
                box in this example would not be the higher fine for a weapons defect, but rather
                the lower fine of 2s. levied for “other defects.”

             b) 1755 – “whoever provides himself a good Firelock, Sword or Hatchet, Belt and
                Cartridge-Box, to receive 16s. more ........ but the Arms to be returned when the
                Service is over.” Boston Gazette, April 21, 1755. It is not clear from the context
                whether the cartridge boxes are part of the arms that must be returned. In other
                articles, cartridge boxes are treated as personal items. They may bear a variety of
                decorations, and they are sometimes listed along with other uniform items in a
                description of a soldier’s funeral.

             c) 1756 – “That every Male Person . . . shall...... provide himself with one well fixed
                Musket, or Fuzee, with a Worm and Priming Wire, one Cartouch Box with nine
                Charges of Gun Powder, and Ball suitable therein, and three good Flints ...... and
                shall keep such Arms and Ammunition by him, in good Order, and fit for Service,
                at all Times ...... under the Penalty of Twenty Shillings for Want of a well fixed
                Musket or Fuzee, with a Worm and Priming Wire, and Two Shillings for the
                Want of every Cartouch Box, and Two Shillings for the Want of nine Charges of
                Gun Power and Ball, and three Flints, or any of them.” Pennsylvania Gazette,
                May 13, 1756. The larger fine for lack of arms, along with lower fines for missing
                Cartouch Boxes and ammunition, suggest that cartouch boxes and cartridge boxes
                do not belong to the category “arms” but are instead a form of accessory.

             d) 1785 – “His European weapons consisted of a musket, bayonet and cartouch-box;
                a fowling piece; two pair of pistols; and two or three swords or cutlasses.” History
                of Capt. Cook’s Voyage, Massachusetts Centinel, January 15, 1785. Here cartouch
                box appears among the list of weapons carried by an islander that Cook
                encountered.

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         37.      Another cite, from 1777, refers to firearms and other military accoutrements,

  implying, too, that arms may be a subcategory of “accoutrements”:

        “any drafted soldier . . . who is unprovided with a fire-arm, and other military
        accoutrements prescribed by the militia law.” Massachusetts, Acts & Laws, March
        Session, Colony of Massachusetts Bay, 1777, p. 10 (but see Par. 38, ex. a).

         38.      But the fact that “arms” are sometimes included as a subcategory of accoutrements,

  when “accoutrements” is used in its most general sense, referring to ‘the equipment of a soldier,’

  does not mean that “arms” includes accessories or other “accoutrements.”

         39.      Despite a handful of exceptions like those just cited, in literally hundreds of cases,

  “arms” and “accoutrements” are treated as separate categories of military gear. Here are some

  typical examples from the Founding Era:

               a) 1776 – “The Sum of ten Shillings … to purchase said Fire Arms and
                  Accoutrements” (Acts and Laws March Session, Colony of Massachusetts Bay;
                  here arms and accoutrements are separate, unlike the citation from 1777, above,
                  from the same source, where arms and accoutrements are lumped together).

               b) 1780 – “arms, ammunition, accoutrements, drums and fifes in possession of the
                  respective regiments” (George Washington, General Orders January 22).

               c) 1783 – “Such of the Noncommissioned officers and privates … shall be allowed
                  the fire arms and accoutrements as an extra reward” (George Washington, General
                  Orders, May 1).

               d) 1795 – “you will march …. with arms and accoutrements in good order.” (Incidents
                  of the Insurrection in the Western Part of Pennsylvania, in the year 1774. This
                  example is from COEME; the other examples in this list are from COFEA).

               e) 1798 – “To hold his powder and his ball, his gun, accoutrements and all ….”[French
                  Arrogance, or, “The Cat Let Out of the Bag.” This poetic example shows that the
                  idiomatic phrase arms and accoutrements has become part of the general language
                  available not just to military specialists but also to poets and novelists.]

         40.      A newspapers.com search for “accoutrements” returns 1,392 hits. There are 692

  matches for the exact phrase “arms and accoutrements.”

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         41.        Here is a mid-eighteenth century British example from the newspapers.com corpus

  where “arms” and “accoutrements” are separate categories, as is “ammunition”: “This Militia shall

  receive their Arms, Accoutrements, and Ammunition from the Ordnance.” Derby Mercury, March

  19, 1756, p. 3.

         42.        Similarly, there is this “ploughshares into swords” example of a Cambridge

  University library to be converted to military use: “[T]he new Building intended for a publick

  Library . . . may be converted into a Barrack, and be supplied with Provisions, Arms, and

  Accoutrements, at the Expence of the University” (Jackson’s Oxford Journal, March 20, 1756, p.

  2).

         43.        A search of “arms and accoutrements” in the Readex database of America’s

  Historical Newspapers returns 3,103 hits from 1750–1800; and 2,036 hits from 1868–1880. This

  early example from the colonial period appeared in the Boston Evening Post in 1750. It

  distinguishes “arms” from uniforms, “accoutrements,” and other military equipment: “All

  Gentlemen Volunteers [in Nova Scotia] . . . shall be completely Cloathed in blue Broad Cloth,

  receive Arms, Accoutrements, Provisions, and all other Things necessary for a Gentleman

  Ranger.”

         44.        This cite from the Pittsburgh Gazette in 1789 reflects a clear sense that “arms” and

  “accoutrements” are distinct categories in the new nation as well: “The militia . . . must be

  considered as the palladium of our security …. The formation and discipline of the militia of the

  continent should be absolutely uniform; and that the same species of arms, accoutrements, and

  military apparatus, should be introduced in every part of the United States.”




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         45.     The text of a bill in Congress to establish a uniform militia appeared in the New

  York Journal in 1790. It confirms the Founding-Era sense that “arms,” “ammunition,” and

  “accoutrements” make up distinct and separate elements of a soldier’s kit: “There shall be

  appointed an adjutant general for each state … whose duty it shall be to … report[] the actual

  situation of their arms, accoutrements, and ammunition…. Every non-commissioned officer or

  private … for appearing at such meeting or rendezvous without his arms, ammunition, or

  accoutrements, as directed by this act, shall pay the sum of twenty-five cents.”

         46.     And this cite from 1868 clearly distinguishes what counts as “arms,” and what

  counts, separately, as “accoutrements”: “At Watertown Arsenal, Massachusetts … the following

  Arms, &c., will be sold:10,699 rifled and smooth-bore Muskets … ; 261 Carbines … ; 305 Sabres

  … ; lot of cavalry accoutrements, consisting of Bayonet Scabbards, Cap Pouches, Cartridge Boxes,

  Gun Slings, Waist Belts, &c.” Daily Morning Chronicle (Washington, DC).

         47.     The newspaper data parallels that of COFEA: the phrase “arms and accoutrements”

  is almost always military. The phrase sometimes occurs alongside “ammunition” as a separate list

  item. “Accoutrements,” when it appears alone in a military context in these newspapers, is a more

  general term, used for gear and rarely, for arms as well.

         48.     It is clear that “arms and accoutrements” was, during the eighteenth and nineteenth

  centuries, a common military phrase, in both England and America. English often yokes terms

  commonly found together into idiomatic pairings, sometimes called binomials, like “bacon and

  eggs” or “salt and pepper.” Such pairs take on the characteristics of a formula and often appear in

  the same order (this order may be dictated by logical succession of events, or it may be random).




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  “Eggs and bacon” is rarer than “bacon and eggs.” Such ordered pairs are called “irreversible

  binomials,” though there is often nothing but custom to prevent anyone from reversing the order.

         49.       The word “accoutrements” typically occurs in a list after “arms” (more rarely, it

  may occur before “arms” as well), and it is typically a separate category from “arms” (though not

  always, as the above examples show).

         50.       There are over 47,000 citations in newspapers.com for “arms” or “accoutrements”

  in the period 1868–1900, and 15,799 cites for the exact phrase “arms and accoutrements.”

  Examining a selection of the 15,799 citations of the phrase confirms that both in England and the

  United States, “arms” and “accoutrements” are separate categories. Here is one example from

  Gloucestershire, in England, in 1868: “[A] letter was received from the Home Secretary, pointing

  out the danger of permitting an accumulation of arms and accoutrements to take place in prisons,

  and requesting, if there were any arms or munitions of war stored in the prison, that they should

  be removed to the nearest military depot.” Gloucester Chronicle, January 4, 1868, p. 2.

         51.       A similar cite from Iowa in 1868 states, “Persons having in their possession any

  arms, accoutrements or ammunition belonging to the State, are requested to return the same at once

  to the Adjutant General, as proper places have been provided by the State for the safe keeping of

  all such property.” Cedar Falls Gazette (Cedar Falls, Iowa).

         52.       And this, from Stroudsburg, Pennsylvania, also 1868, states: “More than half of the

  Seventh Cavalry (Custer’s) decamped with their horses, arms, and accoutrements, and probably

  made their way to the gold regions of Colorado and Montana.” The Jeffersonian (Stroudsburg,

  Pennsylvania).




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         53.     The circa-1868 data confirmed the Founding Era data that “accoutrements” is

  primarily a military term, and that when “accoutrements” co-occurs with “arms,” the terms refer

  to separate categories of equipment.

         54.     One final note on “accoutrements”: the United States Supreme Court’s recent

  decision in New York State Rifle and Pistol Association v. Bruen (No. 20-843, 2022) references

  North Carolina v. Huntley (25 N.C. 418, 1843), a decision by the North Carolina Supreme Court

  affirming Huntley’s conviction for carrying a shotgun illegally “to the terror of the people,” as

  forbidden by the Statute of Northampton in 1328. In that decision, the North Carolina Supreme

  Court stated, “A gun is an ‘unusual weapon,’ wherewith to be armed and clad. No man amongst

  us carries it about with him, as one of his everyday accoutrements—as a part of his dress.”

         55.     In the citation above, “accoutrements” does not refer to weaponry, but to the more

  general category of “everyday attire, or clothing.” The court is saying that it may be normal to

  wear a shirt, or a belt, or shoes, but it is not normal to wear a gun in North Carolina in 1843. It is

  legal—the court agrees—to carry a gun for any lawful purpose, “either of business or

  amusement”—but it is not normal or typical to do so. In affirming Huntley’s conviction, the court

  noted that his purpose in carrying a shotgun was not a legal one.



  Some early use of the words “magazine” and “magazine wind gun,” along with instances of
  repeater or magazine guns in the Founding Era and the years 1860–1880
         56.     Although most uses of the word “magazine” today still refer to printed periodicals,

  during the nineteenth century, one sense of the term “magazine” narrows, referring more and more

  to an “ammunition container,” a primary sense of the word in reference to firearms today. The

  OED defines magazine, sense IV b, as “A container or (detachable) receptacle in a repeating rifle,

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  machine-gun, etc., containing a supply of cartridges which are fed automatically to the breech,”

  with the earliest citation in this sense from 1868 (OED online). It is noteworthy that as late as 1867,

  the British naval dictionary The Sailor’s Word-Book retains the older definition of “magazine” as

  a gunpowder storage facility on land or at sea: “A place built for the safe-keeping of ammunition;

  afloat it is confined to a close room, in the fore or after part, or both, of a ship’s hold, as low down

  as possible; it is lighted occasionally by means of candles fixed in the light- room adjoining it, and

  no person is allowed to enter it with a lamp or candle” (Admiral W. H. Smyth and Vice-Admiral

  Sir E. Belcher, The Sailor’s Word-Book: An Alphabetical Digest of Nautical Terms, London, 1867;

  the authors suggest that the placement of the magazine room “as low down as possible” minimizes

  the risk of a direct hit by enemy fire, and they note as well that no one is permitted to carry a

  lighted flame into the ship’s magazine room to minimize the risk of an accidental explosion; see ¶

  33, above, for the authors’ definition of the term “cartridge-box” to refer to the box or pouch used

  for transporting ammunition to a small arm or a large gun). In addition, Smyth and Belcher define

  “repeating fire-arm” as “One by which a number of charges, previously inserted, may be fired off

  in rapid succession, or after various pauses. The principle is very old, but the effective working of

  it is new.” Their definition—which does not mention “magazine” in connection with such guns—

  acknowledges the existence of earlier repeater guns, but judges them to have been ineffective.

  Only the repeater guns designed and manufactured in quantity during the period just before the

  dictionary’s publication in 1867 are actually judged to be “effective.” The earliest example in

  COHA of “magazine” referring to the ammunition compartment of is dated 1882: “Solitary

  travelers still find it prudent to make a display of a magazine rifle, and to keep a sharp eye on any

  roving bands” (E. V. Smalley, “The New North-West,” Century, September, 1882, pp. 769–79).


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  COHA lists only 40 examples of “magazine rifle,” most of them between 1890 and 1930.

  “Magazine gun” appears in the COHA data 16 times between 1920–2010. And an 1893 editorial

  in the New York Times refers to the army’s “new magazine rifle” (“New Powder for the Army,”

  New York Times, December 7, 1893, p. 4). However, as with a very few instances of

  “accoutrements” including “arms,” there are an extremely small number of early counterexamples

  between 1744 and 1820 where “magazine” refers to the bullet compartment of a gun—not a pistol

  or rifle using conventional gunpowder and bullets, but an air gun.

         57.     The common, single-shot “wind gun” or “air gun” used compressed air rather than

  ignited gunpowder to propel a ball, and was much quieter than a traditional gun. Although the air

  gun did not require powder or a match, the user had to re-charge the compressed air cylinder once

  the air had been expended. The writer Oliver Goldsmith found air guns to be useful for experiments

  in physics, adding, “THIS, however, is but an instrument of curiosity, and sometimes of mischief”

  (Oliver Goldsmith, A survey of experimental philosophy, considered in its present state of

  improvement, 1776). This newspaper story from the same period reports that the scientist Joseph

  Priestley was injured by an accidental discharge of an air gun: “We hear from Birmingham, that

  the celebrated Dr Priestley, in a late trial of some experiments with an air gun, was badly wounded

  by an accidental discharge of it; the ball with which it was loaded, passing thro’ one of his hands,

  and shattering it to pieces” (The Leeds Intelligencer and Yorkshire General Advertiser, June 5,

  1781, p. 3).

         58.     A number of newspaper references suggest that its relative quietness made the air

  gun popular with criminals, and many references to air guns refer either to accidental discharges




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  or to criminal assaults (to cite an example of the latter, numerous newspaper accounts in 1785

  suggested that the weapon which broke a window in an attack on King George III’s carriage was

  an air gun).

         59.     Air guns typically fired a single shot. However, there are references in the corpora

  to approximately eight inventors between 1744 and 1820 who built air guns capable of firing

  anywhere from 9 to 50 balls without reloading the ammunition or recharging the compressed-air

  cylinder. Lexical evidence suggests almost all of these repeater air guns were experimental models

  rather than guns available for military or civilian use.

         60.     The OED dates the term “magazine wind-gun” to 1744 in a reference to an air gun

  capable of firing more than one shot without reloading. “Magazine wind-gun” is the term used by

  its inventor, a man named L. Colbe. I have found no other examples of the term “magazine wind

  gun” in any database, suggesting that the phrase is a hapax legomenon, or “oncer,” terms that

  lexicographers use to define a word that merits a definition, but that does not appear anywhere

  else. Colbe also uses the term “magazine gun” for his device, and that term does occur twice more

  in the data, suggesting that it was never a common term. In an entry separate from its entry for

  “magazine,” the OED marks the usage of both “magazine wind gun” and “magazine gun” as “rare”

  and “obsolete”:

         †magazine wind-gun n. Obsolete rare a type of wind-gun fitted with a magazine of bullets.
         1744 J. T. Desaguliers Course Exper. Philos. II. 399 An ingenious Workman call’d L.
         Colbe has very much improv’d it [sc. the old Wind-Gun], by making it a Magazine Wind-
         Gun; so that 10 Bullets are so lodg’d in a Cavity…that they may be…successively shot.
         [Oxford English Dictionary Online, s.v. magazine wind-gun.]

         61.     The OED citation is from John Theophilus Desaguliers, A Course of Experimental

  Philosophy (London, 1744), vol. II: 399–402. Desaguliers, an assistant to Isaac Newton, was a


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  member of the Royal Society who specialized in mechanics and hydraulics. In his treatise,

  Desaguliers offers an elaborate description of the common, single-shot wind gun, more typically

  referred to as an air gun, along with a three-page description of Colbe’s so-called “Magazine Wind-

  Gun,” accompanied by a detailed drawing of the mechanism of that gun. I have found no

  biographical information about L. Colbe, inventor of the gun, and I have found no lexical evidence

  that Colbe made more than one such gun, or if he did, that it was produced in any significant

  numbers. Although Desaguliers suggests that this “magazine gun” may be “the best Defence

  against Highway-men, or Robbers that Travellers are aware of because when they have cause to

  suspect them, they may make five or six Discharges before a Thief can come within Pistol-Shot”

  (p. 402), there is no evidence in any of the corpora that Colbe’s invention was ever used either by

  the military or by civilians for individual self defense. And there is no lexical evidence that the

  other repeater air guns invented before the mid-nineteenth century were ever more than curiosities

  until workable models of what we now call machine guns or automatic weapons, using

  conventional gunpowder and bullets, not compressed air and balls, were produced during and after

  the Civil War.

         62.       As further confirmation that the magazine wind gun was an anomalous and

  uncommon term, the OED definition of “magazine,” updated most-recently in 2022, gives the

  earliest date of the sense of the word as ‘a bullet-container’ as 1868. The corpus evidence confirms

  that the magazine wind gun is correctly dated by the OED as 1744, and I have found only two

  references to “magazine guns” in the 1790s and early 1800s, confirming that this usage of the word

  remained rare. “Magazine wind-gun” and “magazine gun” do not appear in the COEME or




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  COFEA corpora. I have found no information in the corpora on the availability or popularity of

  such guns, but the sparse lexical data suggests that they were not in common use.

         63.      A small number of references to later repeater wind guns indicate they were made,

  not by armorers, but by clockmakers and other highly-skilled artists or artisans. There is no

  indication in the lexical evidence that repeater air guns were ever mass produced or publicly

  available in the Founding Era. Several of the citations I found treat these guns as curiosities and

  their owners charge a small fee to anyone interested in looking at them (and in one case, trying the

  gun out). Like Colbe’s wind gun, they seem to be rare inventions or curiosities, not weapons

  commonly available to the military or to the American or English public. Besides Colbe’s gun,

  there are only two examples from the data that use the word “magazine” in connection with a

  repeater air gun:

               a) 1784 – “An artist of this town [Birmingham, Eng; the artist is also identified as a
                  compass maker] has lately invented a magazine gun, that will discharge 45 bullets
                  separately in two minutes and a half, each bullet would kill an ox at 40 yards
                  distance; it is only charged once, and aim is taken with more certainty than with the
                  fowling piece” (New York Packet and American Advertiser, New York, NY,
                  August 5, 1784).

               b) 1815 – Advertisement for “one magazine Gun, when once loaded can be discharged
                  ten times in a minute” (New York Gazette, Aug. 30, 1815).

         64.      The corpora contain just nine other references to repeater air guns, none of them

  using the word “magazine”:

               a) 1783 – “Vienna. A watchmaker has invented an Air Gun, which, without
                  recharging, fires 15 times successively. A corps of Hunters are to be armed with
                  these guns.” (The Newcastle Weekly Courant (England), May 10, 1783, p. 3). There
                  is no follow-up to indicate whether the corps of Viennese hunters did employ such
                  a weapon.

               b) 1792 – A number of American newspapers report on the invention by a man, only
                  identified as someone from Rhode Island, of a repeating air gun capable of firing
                  twenty times without reloading. Here is one: “A person in Rhode Island has
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              invented an Air-gun, which can be discharged, to do execution, 20 times, each time
              it is loaded.—As nothing is cheaper, and easier to be transferred, than the
              ammunition for the above pieces; and as saving much expense, they recommend
              themselves strongly to the Secretary at War, to be used in the approaching campaign
              against the Indians” (National Intelligencer: National Gazette, April 26, 1792, p.
              3). There is no indication that the Secretary of War knew of the invention or acted
              on this suggestion. In fact, the following advertisement suggests that the repeater
              air gun in question was treated as a curiosity to be admired in a museum:

           c) 1792 – “An air-gun, made by a young man, a native of Rhode-Island, but now
              resident in this city [New York], and which has been purchased by the subscriber,
              with a view eventually to make it the property of the American museum but wishes
              to reimburse himself in the following manner, viz. He will exhibit it to the
              examination of all persons desirous of viewing it, and of discharging a shot, for
              which they shall pay six-pence. This gun, when properly filled with air, will do
              execution twenty times, without renewing the charge, and for several times will
              send a ball thro’ an inch board, at the distance of sixty yards, to be seen at the
              subscribers, No. 13 Maiden Lane, every day in the week, from 10 to 12 in the
              forenoon, and from 3 to 5 in the afternoon, Tuesday and Friday afternoons excepted,
              at which time it may be seen at the Museum. Gardiner Baker, Keeper of the
              Museum” (New York Daily Advertiser, February 9, 1792).

           d) 1796 – “This carabine, lighter and smaller than the common ones, is composed of
              two barrels, the smallest of which contains 25 balls: and by a slight movement, they
              pass from the one to the other; which ball, by lowering the firelock, goes off with
              the same rapidity and carries further than if fired with powder, without the least
              noise, and that as often as a hundred times alternately, during the space of 8 or 10
              minutes; after which, the reservoir being exhausted, it requires to pump in fresh air,
              which takes up at most, 16 minutes (The Independent Gazetteer (Philadelphia),
              August 6, 1796, p. 1). This report adds that the repeater air gun, invented in the
              reign of Emperor Joseph II (reg. 1765–1790), was distributed to German troops,
              and that a sample weapon was given to the Prince of Wales. The writer suggests
              such guns would be useful at sea, since they are not affected by dampness. But there
              is no indication in the corpora that the Royal Navy ever considered such a weapon.

           e) 1797 – “An Air GUN has been constructed by Messrs. Darlings and Wilkinson, of
              Cumberland, Rhode Island, upon a plan entirely new. It can be discharged twelve
              times with once loading, and will do execution with great exactness, at fifty yards
              distance” (Columbian Centinel (Boston), June 21, 1797).

           f) 1801 – Multiple newspapers run the story of a repeater air gun invented by a man
              known as Girardami, identified as a peasant, artist, and watchmaker, and variously
              referred to in gun history articles as Girandoni or Girardoni (those spellings do not
              appear in the corpora that I consulted): “Girardami, a Tyrolese peasant, and self-
              taught artist, has invented an air-gun, which may be discharged fifty times without
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                    pumping again. The first twenty shots penetrate through a door at an uncommon
                    distance. Girardami makes these air-guns himself, and likewise very good wooden
                    watches” (The Caledonian Mercury (Edinburgh), March 2, 1801, p. 2).

               g) 1802 – The Newly-Invented Philosophical Air Gun That can be used as Gun or
                  Pistol, and discharge 20 balls with one loading of the globe [that is, the compressed-
                  air cylinder], unless the charge of air is let out at once. To be seen at Mr. Wyant’s
                  tavern, Market street, both night and day. Admittance one fourth of a dollar
                  (Telegraphe and Daily Advertiser (Baltimore), March 17, 1802). “Philosophical”
                  in this sense is often used to refer to physicists experimenting with air guns to
                  measure air temperature, pressure, and volume, among other things (see, for
                  example, the work of Desaguliers and the experiments of Goldsmith and Priestley
                  mentioned above).

               h) 1807 – An ad for an auction includes, among other items, “an air gun in compleat
                  order which, when loaded will discharge twenty five times after being pumped”
                  (American Citizen (New York, NY), May 28, 1807).

               i)   1814 – One article in the corpora refers to a repeater air gun taken by Lewis and
                    Clark on their expedition to the Pacific some eight years earlier, though the article
                    itself has nothing to do with the expedition. Instead, this letter to the newspaper,
                    criticizing a politician for repeating the same things that he has been saying for
                    years, suggests as well that the Lewis and Clark repeater air gun was used not for
                    hunting or warfare but rather to dazzle the Indians that the explorers encountered
                    with their “great medicine,” thereby ensuring a peaceful encounter: “he [the
                    politician in question], forthwith, becomes a “great medicine,” as the Shoshones
                    called captain Lewis’ air gun”(National Advocate, Mar. 23, 1814). This article was
                    written ten years after the start and eight years after the completion of the
                    expedition. I did not find any contemporaneous articles or firsthand accounts in the
                    corpora of such a gun or how it may have been used.

               j)   1819 – Finally, there is an ad for a French repeater air gun, for sale at 90 crowns:
                    “which discharges 20 times before the air is expended” (Salem Gazette
                    (Massachusetts), February 5, 1819).

         65.        To summarize: the corpus data shows that the terms “magazine gun,” “magazine

  wind gun,” and “magazine air gun” are extremely rare, occurring a mere three times in the corpora,

  along with nine instances of repeater air guns that do not include the word “magazine.” In contrast,

  there are approximately 1,200 references to the single-shot “air gun” in the several databases that

  I consulted. Subtracting an estimated 150 duplicates, that leaves about 1,050 references to a single-

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  shot air gun. Two of the references, ¶ 64 (b) and (d) in the list above, suggest that they would be

  useful weapons for the military; one, ¶ 64 (a) above, recommends their use to hunters; and one

  writer, Desaguliers, in 1744 (above, ¶ 61), speculates that the weapon could be useful for self-

  defense. But for the most part, the references listed above to early repeater guns seem to be treated

  as curiosities: marvels of engineering constructed by clockmakers or other skilled artisans, items

  to be seen in a museum or exhibited at a tavern (see examples ¶ 64 (c) and (g) above). There is no

  lexical evidence that they were manufactured in quantity. Their mechanisms were complex,

  requiring a clockmaker’s skill to design, make, and repair. And it took time to re-charge the air

  cylinder (one source in the list above, ¶ 64 (d), suggests sixteen minutes for one such repeater air

  gun, which would render them suboptimal in battle situations). A couple of entrepreneurs charged

  admission to view them (¶ 64 (c) and (g) above), and in one case, in ¶ 64 (c) above, patrons may

  pay six pence to try shooting the gun. The writer who cites the Lewis and Clark repeater gun (¶ 64

  (i)) suggests that the explorers used the gun to “impress” potentially hostile Native Americans

  rather than as a weapon against them. It too may have been a one-off. Furthermore, only three of

  the twelve references to repeater air guns refer to the bullet container as a “magazine,” a further

  indication that this usage of “magazine” is extremely rare before 1820 (see ¶¶ 60 and 62, above).

         66.     With advances in the design and manufacture of guns and ammunition, by the mid-

  nineteenth century, the term “magazine” starts to appear in the sense “ammunition container”

  (gradually replacing the earlier terms “cartridge box” or “cartridge case”), not in air guns but in

  ones using gunpowder and bullets.

         67.     COFEA and COEME do not cover the period past 1800. COHA, which does have

  nineteenth century coverage, turns up only a handful of uses of “magazine” in collocation with


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  bullets, guns, rifles, or weapons in the 1890s, and only three such uses cited above before 1820.

  Most COHA cites for “magazine” refer to print magazines; a smaller number from 1820–1880

  refer to gunpowder storehouses.

         68.     Searching the word “magazine” in newspapers.com results in more than 3.3 million

  hits, the vast majority of them also referring to print journals. It is not currently possible to tease

  out the subset of these citations to determine exactly how many refer to weapons rather than print

  journals. In addition to the patents granted in 1860 (see above), I have found twelve citations in

  newspapers.com for “magazine carbine” and “magazine rifle” from 1860 to 1880:

         (a) 1864 – Advertisement for “Henry’s Magazine Rifle, 15 shots” along with other
             firearms. Chicago Tribune, January 25, 1864, p. 1.

         (b) 1864 – The War Department establishes a Board of Officers “for the purpose of
             examining, testing and recommending for adoption a suitable breech-loader for
             muskets and carbines, and a repeater or magazine carbine.” New York Times, Dec.
             22, 1864. A few other newspapers carry notices of this commission and later report
             on its findings.

         (c) 1865 – “The Meriden Manufacturing Company have a contract for 5,000 breech-
             loading magazine carbines, Trippett’s patent, for the State of Kentucky.” Sunbury
             (Pennsylvania) Gazette, June 3, 1865, p. 3. No follow-up information in the corpora.

         (d) 1866 – “The Board would be unwilling to dispense entirely with magazine arms, and
             as these same can be used ordinarily as single-loaders.” The military Board of Officers
             (see (a)), concluded that the repeater gun patented by Spencer had promise, though it
             was not yet ready for service until improvements could be made to the mechanisms.
             Chicago Tribune, Dec, 19, 1866, p. 4.

         (e) 1868 – Report of another trial of various weapons under the auspices of the Board of
             Officers, including “magazine and single breech loaders,” (one of them patented by
             Spencer). New York Daily Herald, July 7, 1868, p. 8.

         (f) 1873 – Marksmanship contest sponsored by the National Rifle Association includes
             one contestant firing a “magazine carbine” and 36 contestants firing other rifles.
             Brooklyn Daily Eagle, September 1, 1873, p. 4.

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         (g) 1874 – Another NRA-sponsored contest at Creedmoor offers a second prize in one
             competition for NY State National Guard members, “an elegant Ward-Burton
             magazine carbine” valued at $50. New York Times, September 17, 1874, p. 2.

         (h) 1877 – A museum in Birmingham, England, displays Russian and Turkish rifles,
             including one Turkish “Winchester magazine gun.” Birmingham Daily Post,
             December 29, 1877, p. 5.

         (i) 1878 – A display in Sidney, Australia, of a variety of firearms, including “some
             novelties from America . . . [including] the Evans Magazine carbine.” Sydney
             Morning Herald, April 29, 1878, p. 5.

         (j) 1879 – Under “Military Items,” this notice: “An invoice of Hotchkiss Magazine
             Carbines were received here this week.” Vancouver (Canada) Independent, August
             14, 1879, p. 5.

         (k) 1880 – Under the heading “Maryland Military Affairs,” report on the Maryland
             National Guard. “Each infantry organization is armed with . . . breech-loading
             magazine carbines.” Baltimore Sun, January 16, 1880, p. 1.

         (l) 1880 – Advertisement of F. Lassetter & Co. includes “Evans’ Magazine Military
             Carbines [that] will carry twenty-two rounds.” Otago (New Zealand) Witness, May
             15, 1880, p. 1. The advertisement ran on multiple days in multiple newspapers.

  A number of these references are optimistic about the future of such weapons, but several note that

  single-shot weapons will predominate until the repeater mechanisms of these new rifles are

  improved. Perhaps because the term was largely associated with military weapons, it remained

  relatively rare until the 1920s. In any case, before mid-nineteenth century, bullets were kept in

  “cartridge boxes,” sometimes called “cartouch boxes,” or “cartridge cases” or pouches, and these

  bullet storage containers were part of the general category of military accoutrements, not arms.

         69.     I did try to estimate, indirectly, the frequency of the gun-specific use of “magazine”

  by running a Google n-gram search. Google’s n-gram viewer searches the corpus of digitized

  Google Books. It can give a rough approximation of a word’s frequency in relation to the other

  words in the Google Books corpus. The results appear as a graph. The n-gram viewer is capable

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  of showing the relative frequency of several words on the same graph. My n-gram search showed

  that between 1750–1880 the word “magazine” occurs with a frequency of 0.0005121511% in 1789

  and a frequency of 0.0007324368 in 1880.6 A search for “magazine gun” returns no hits for that

  same period. But a search for “magazine rifle” shows that it does not appear in the database before

  1813; there are few instances from 1813 to 1820, with a frequency of 0.0000000185%; and then a

  sharp rise between 1863 and 1880, when the frequency reaches a high of 0.000000936%, reflecting

  both the increased use of the revolver and the invention of repeating rifles and machine guns during

  the Civil War.7 Searching “magazine carbine” from 1860–1880 shows the term to be even rarer

  than “magazine rifle,” with no occurrences in 1860, a peak frequency in 1866 of 0.0000002185%,

  and a sharp drop thereafter.8 In contrast, an n-gram search for “carbine” during those years shows

  that “carbine” occurs about 370 times more frequently than “magazine carbine” in the Google

  Books corpus.9 The Google n-gram data shows that the use of “magazine” in the Founding Era

  was not associated with guns. By 1880, the association with guns had become more common.

  Comparing the use of “magazine” in 1880 in all contexts with the use of “magazine rifle” that

  same year, it appears that the gun-related sense of “magazine” represents approximately 0.0012%

  of the occurrences of the word “magazine.” In other words, the association exists in the period

  surrounding the ratification of the Fourteenth Amendment, but it is still a rare term.




  6
    https://books.google.com/ngrams/graph?content=magazine&year_start=1750&year_end=1880&corpus=en-
  2019&smoothing=3).
  7
    (https://books.google.com/ngrams/graph?content=magazine+rifle&year_start=1750&year_end=1880&corpus=en-
  2019&smoothing=3).
  8
    https://books.google.com/ngrams/graph?content=magazine+carbine&year_start=1860&year_end=1880&corpus=en
  -2019&smoothing=3
  9
    https://books.google.com/ngrams/graph?content=carbine&year_start=1860&year_end=1880&corpus=en-
  2019&smoothing=3
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         70.     The n-gram estimate, together with the sparse evidence in COHA and the OED, all

  suggest that “magazine” in the sense “device for holding bullets” forms only a very small subset

  of the 3.3 million occurrences of “magazine” in the newspaper corpora. Although “magazine” in

  the gun-related sense shows a distinct rise between 1864 and 1880, it took another thirty to forty

  years for the “bullet holder” sense of the word “magazine” to become more common. Even then,

  text references to ammunition magazines often appear, not in general discourse, but in legislation

  passed early in the twentieth century restricting their size or use.

         71.     Most militia laws and regulations from the Founding Era specify minimum

  requirements for soldiers’ weapons, ammunition, and accoutrements. In contrast, most laws

  regulating weapons in the mid-nineteenth century restrict or ban specific kinds of weapons, often

  enumerating them, sometimes in terms we find colorful today but which were common at the time

  (Arkansas toothpicks, Bowie knives, slung shots, swords in canes, pistols capable of being

  concealed in a pocket). Occasionally, these laws further identified such weapons as those used by

  “brawlers,” thieves robbers, or others bent on illegal activities. Other weapons restrictions follow

  the English tradition of limiting possession of weapons by social class, nationality, or race.

         72.     I   surveyed     the   gun    regulations    in   the   Duke    Historical   Database

  (firearmslaw.duke.edu) from the early medieval period through 1885 to see what terminology was

  used. Although militia laws do specify weapons and other required accoutrements or pieces of

  military equipment, including horses for the officers, those laws that prohibit certain kinds of

  weapons during the two critical periods (1776–1810; 1868–1880) do not single out parts of

  weapons. Here is one exception, from a 1776 Maryland statute: “Resolved, that no muskets or

  rifles, except by the owner thereof on his removal to reside out of this province, or any gun barrels,


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  gun locks, or bayonets, be carried out of this province, without the leave of the council of safety

  for the time being.” [Proceedings of the Conventions of the Province of Maryland Held at the City

  of Annapolis, in 1774, 1775, & 1776, 147]

         73.     None of the laws that prohibit weapons, aside from the Maryland statute mentioned

  above, specifies a gun part or ammunition case or accoutrements of any kind. Although many

  present a list of banned or prohibited weapons, usually without defining them (the assumption is

  that the reader knows what they refer to), none of the laws mention cartridge boxes, bullets, barrels,

  or other parts of any weapons.

         74.     Later however, in the decades after the introduction of “magazines” as ‘carriers or

  holders of one or more bullets,’ laws and regulations against their nonmilitary use started to appear.

  A 1919 Maine law bans guns with loaded magazines: “No person shall have a rifle or shotgun,

  either loaded or with a cartridge in the magazine thereof, in or on any motor vehicle while the same

  is upon any highway or in the fields or forests.” [1919 Me. Laws 193, Possession of loaded shotgun

  or rifle in motor vehicle on highways, fields or forests prohibited; penalty.]

         75.     Laws banning “machine guns” or firearms with “magazines” capable of firing

  multiple times without reloading appear in Vermont (1923 Vt. Acts and Resolves 127, An Act to

  Prohibit the Use of Machine Guns and Automatic Rifles in Hunting, § 10); Rhode Island (1927 R.

  I. Pub. Laws 256, An Act to Regulate the Possession of Firearms), and Massachusetts (1927 Mass.

  Acts 145, An Act Relative to Machine Guns and Other Firearms, ch. 326), among other states. In

  defining “machine gun,” Rhode Island’s law bans magazines which fire automatically or which

  hold more than twelve rounds: “‘machine gun’ shall include any weapon which shoots




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  automatically and any weapon which shoots more than twelve shots semi-automatically without

  reloading.”

         76.     A 1933 Texas law bans “machine guns” capable of firing “more than five (5) shots

  or bullets.” [1933 Tex. Gen. Laws 219–20, 1st Called Sess., An Act Defining “Machine Gun” and

  “Person”; Making It an Offense to Possess or Use Machine Guns, ch. 82]

         77.     Finally, the Federal Firearms Act of 1934, which introduced a nationwide system

  of taxes, fees, and registration requirements for the transfer of certain types of guns, specifies in

  great detail the nature of the “firearms” covered by the statute, including their barrel length and

  type of firing mechanisms: “(a) The term ‘firearm’ means a shotgun or rifle having a barrel of less

  than eighteen inches in length, or any other weapon, except a pistol or revolver, from which a shot

  is discharged by an explosive if such weapon is capable of being concealed on the person, or a

  machine gun, and includes a muffler or silencer for any firearm whether or not such firearm is

  included within the foregoing definition.” Note that the muffler or silencer is listed separate from

  the firearm.

         78.     The Act also provides a specific definition of “machine gun”: “(b) The term

  ‘machine gun’ means any weapon which shoots, or is designed to shoot, automatically or

  semiautomatically, more than one shot, without manual reloading, by a single function of the

  trigger.” [48 Stat. 1236. 73rd Congress, 2nd Session, Ch. 757, HR 9741].



  Conclusion

         79.     There is virtually no lexical data that I have found showing that “arms” includes

  “accoutrements,” “cartridge boxes,” “cartouch boxes,” “magazines,” or any parts of weapons. To


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  the contrary, while “arms” is used as a general term for weapons (typically swords, knives, rifles,

  and pistols), it does not include ammunition, ammunition containers, flints, scabbards, holsters,

  armor, or shields, which are included in the category “accoutrements.”

         80.      There is no evidence from the small number of mentions of the repeater air guns in

  the databases before the Civil War that such guns were used in the Founding Era by the American

  or British military, or that they were widely available in that period to civilians for hunting or self-

  defense.




                                                                          Dennis Baron
 Date: May 4, 2023




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                            EXHIBIT A
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     DENNIS BARON

     Professor of English, Emeritus
     Research professor of English                                                 email: debaron@illinois.edu
     University of Illinois at Urbana-Champaign            Web Page url: http://faculty.las.illinois.edu/debaron/
     Home: 1801 Foxborough Ct
     Champaign IL 61822-8501



                                                        VITA


     Education:

          Ph.D., University of Michigan (English Language and Literature), 1971.
          M.A., Columbia University (English and Comparative Literature), 1968.
          A.B., Brandeis University (English and American Literature), 1965.

     Positions held:

          Research Professor of English and linguistics, University of Illinois, 2018–present.
          Professor English, Emeritus, University of Illinois, 2018–present.
          Professor of English and Linguistics, University of Illinois at Urbana-Champaign, 1984–2018.
          Head, Department of English, University of Illinois at Urbana-Champaign, 1998–2003.
          Acting Head, Department of English, Univ. of Illinois at Urbana-Champaign, 1997–98.
          Director of Rhetoric, University of Illinois, 1985–97.
          Director, Writing Outreach Workshop, Univ. of Illinois, 1985–88.
          Professor, Campus Honors Faculty, Univ. of Illinois, 1988–2018.
          Professor, College of Education, UIUC, Summer 1988.
          Associate Professor of English and Linguistics, Univ. of Illinois, Urbana-Champaign, 1981–84.
          Assistant Professor of English and Linguistics, Univ. of Illinois, Urbana-Champaign, 1975–81.
          Assistant Professor of English, The City College of CUNY, 1973–74.
          Assistant Professor of English, Eastern Illinois University, 1971–73.

     Fellowships and Grants:

          John Simon Guggenheim Memorial Foundation Fellow, 2016–17.
          Faculty Fellow, Program for the Study of Cultural Values and Ethics, Univ. of Illinois, Spring 1992.
          National Endowment for the Humanities Fellowship, calendar year 1989.
          Newberry Library National Endowment for the Humanities Fellowship, 1988–89 (offered, not held).
          IBM Project Excel Grant C-41, 1986-87: “Computer Analysis of Student Writing.”
          Associate, Center for Advanced Study, University of Illinois 1984–85.
          Fulbright Lecturer, University of Poitiers, France, 1978–79.
          Fellow, Center for Advanced Study, University of Illinois, 1978 (offered, not held).
          University of Illinois Research Board grants, multiple years, 1978–2017.

     Books:

     1.   You Can’t Always Say What You Want: The Paradox of Free Speech. Cambridge University Press,
          2023. (Available Dec., 2022).
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          Higher Education; International Journal of Communication; The Guardian; Choice; American
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     4.   Guide to Home Language Repair (questions, answers, and essays on the English language). National
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     5.   The English-Only Question: An Official Language for Americans? Yale University Press, 1990;
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          Journal; Education Week; Hazel New York City Tribune; The Bookwatch—Midwest Book Review;
          Change; Choice; The Jerusalem Post; Times Literary Supplement; American Political Science Review;
          Book Review Digest; American Journal of Sociology; Publishers Weekly; College English; Modern
          Language Journal; Language Problems and Language Planning; Language.

     6.   Declining Grammar and Other Essays on the English Vocabulary National Council of Teachers of
          English. Reviews: Newsweek (Dec. 11, 1989), p. 71; William Safire, New York Times Magazine; The
          State Journal-Register (Springfield, IL); The Chicago Tribune; The Chicago Sun-Times; The Denver
          Post; Library Materials Guide; Book Report; NATE News; Language; Young Adult Paperback Book
          Guide.

     7.   Grammar and Gender Yale University Press, 1986; paper ed., 1987. Reviews: Kirkus Reviews;
          Publishers Weekly; Patriot Ledger (Quincy, MA); The Washington Times Magazine; John Simon, The
          New Leader; Chronicle of Higher Education; Los Angeles Times; Library Journal; Insight;
          Champaign-Urbana News-Gazette; Choice; Language Monthly; The Times Literary Supplement;
          Psychology Today; Virginia Quarterly Review; The Toronto Star; ETC.; Book Review Digest; Chicago
          Tribune; Akron (OH) Beacon Journal; Clearwater (FL) Sun; Corpus Christi (TX) Caller-Times;
          Wilkes-Barre (PA) Times Leader; Troy (NY) Record; The Editorial Eye; Studies in the American
          Renaissance; Lingua; Modern Language Review; Review 9; American Speech; Southern Quarterly
          Review; Signs; Language; JEGP; Frontiers; Anglia; Journal of English Linguistics Nominated for the
          Mina P. Shaughnessy Medal of the Modern Language Association.

     8.   Grammar and Good Taste: Reforming the American Language Yale University Press, 1982; paper
          ed., 1984. Reviews: Library Journal; America; The New York Times Book Review; The Washington
          Post Book World; Chronicle of Higher Education; The Times (London); The Los Angeles Times Book
          Review; Journal of American History; Encounter; American Literature; Journal of American Studies;
          Amerikastudien; Book Review Digest; Journal of English and Germanic Philology; Technical
          Communication; The Augusta Chronicle, Augusta Herald; American Studies; South Atlantic
          Quarterly; English Language Notes; World Literature Today; History of Education Quarterly;
          Caroline Bokinsky, Studies in the American Renaissance; Etudes Anglaises; Review of English
          Studies; College Composition and Communication; American Speech; Anglia; Book Review Digest;
          ESQ; English Journal. Selected for the “Editor’s Choice” section of The New York Times Book
          Review. Selected by the Library of Congress for recording for the blind. Nominated for the 1982 Mina
          P. Shaughnessy Medal and the 1987 James Russell Lowell award of the Modern Language
          Association; selected by the Editorial Board of the National Council of Teachers of English for
          distribution as an affiliate publication of the NCTE.
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     Jeffrey P. Kaplan, Ph.D. in support of petitioners. District of Columbia, et al., v. Dick Anthony Heller. 554
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           2. “Don’t make English official, ban it instead.” Rpt. in Roen, Duane, ed., McGraw-Hill Guide:
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           3. “Facebook multiplies genders but offers users the same three tired pronouns.” Melissa
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        162. “The Job Interview.” Chronicle of Higher Education, Jan. 21, 2002.
        163. “To Whom It May Concern: Reading Job Applications.” Chronicle of Higher Education, Dec, 21,
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        164. “The Hiring Season.” Chronicle of Higher Education, Nov. 9, 2001.
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         169. “Ebonics and the Politics of English.” World Englishes 19 (March, 2000): 5-19.
         170. “Technology’s Impact on Writing.” Letter. Chronicle of Higher Education, Jan. 21, 2000, B11.
         171. “To Sir, or Ma’am, with Love.” Education Week. Sept. 8, 1999, 45.

     The Web of Language: a blog running from 2007 to the present dealing with issues of language and technology:
     http://bit.ly/1B29f6v Over 1.5 million page views..

     Recent Invited Lectures, Workshops and Conference Presentations:

         1.  “Corpus Linguistics and the Original Meaning of the Second Amendment.” University of Chicago
             Law School, 12 January, 2021.
         2. Author interviews, “What’s Your Pronoun?” New York Public Library, 4 February, 2020; Politics
             and Prose Books (Washington, DC), 5 February; Cuyahoga County Public Library. 6 February;
             Kansas City Public Library (MO), 11 February; Town Hall Seattle, 16 February; Powells Books,
             Portland OR, 17 February; City Lights Books, San Francisco, 18 February.
         3. “Guns and Grammar: Big Data and the Meaning of ‘bear arms’ in the Second Amendment.”
             Conference on Law and Corpus Linguistics, Brigham Young Univ. Law School, Feb. 6-8, 2019.
         4. “Corpus evidence and the meaning of ‘bear arms.’” Symposium: District of Columbia v. Heller 10
             years on, Hastings College of Law, San Francisco, CA, Jan. 18, 2019.
         5. “What’s Your Pronoun?” Language Policy Forum, Sheffield Hallam University, UK, June 1,
             2018.
         6. “America’s War on Language,” Invited Lecture, University of Pennsylvania, April 19, 2018.
         7. “Guns and Grammar: The Linguistics of the Second Amendment,” Neubauer Symposium on
             Historical Semantics, University of Chicago, April 13, 2018.
         8. “Speak the Language of Your Flag: Language and Immigration in the US, 1918-2018,” Language
             and Borders Conference, University of Bristol, UK, March 26, 2018.
         9. “Pronoun Showdown,” Invited lecture, University of Essex, UK, Nov. 23, 2017.
         10. “Going native: Brexit prompts linguistic cleansing.” Conference on UK Language Policy after
             Brexit. Sheffield Hallam University (Sheffield, UK), Sept. 15, 2016.
         11. “Pronoun Showdown: Are nonbinary pronouns and singular they ruining the language or making
             English great again?” Univ. of Tennessee (Knoxville), April 11, 2016.
         12. “Speak the language of your flag.” Present-Day English Discussion Group, Modern Language
             Association. Jan. 9, 2014.
         13. “#twitterrevolution: Destabilizing the world, 140 characters at a time.” Univ. of Sussex (Brighton,
             UK). March 21, 2013.
         14. “Speak the language of your flag.” In “creative” conversation, with Michael Erard. Modern
             Language Association. Boston, Jan. 3, 2013. Speakers invited by MLA Executive Director
             Rosemary Feal.
         15. “Official English from the school house to the White House.” Englishes in Europe Conference.
             Univ. of Sheffield. April, 2012.
         16. “#twitterrevolution: Destabilizing the world, 140 characters at a time.” Temple Contemporary,
             Temple University Art Museum. Oct. 11, 2012.
         17. “Guns and grammar: Linguistic authority and legal interpretation in Washington, D.C., v. Heller”
             Stanford University. Nov. 10, 2011.
         18. “Should everybody write? The destabilizing technologies of communication.” Univ. of Chicago
             Semiotics Workshop, March 11, 2010.
         19. “Guns and grammar: The linguistics of the Second Amendment.” Law and Society Annual
             Conference, Denver, CO, June 30, 2009.
         20. “Let’s go to the phones.” Univ. of Michigan invited lecture. Dec. 5, 2008.
         21. “Policing English in America from the White House to the schoolhouse.” Conference on
             prescriptivism in language. Univ. of Paris VII (Sorbonne), Paris, FR. Nov. 15, 2007.
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        22. “It’s All Your Fault: Who’s Really to Blame for the Literacy Crisis?” Conference on College
            Composition and Communication. New York City, March 2007.
        23. “No University Student Left Behind: Writing and the Secretary of Education’s Commission on
            Higher Education.” Conference on College Composition and Communication. Chicago, March
            2006.
        24. “The Perils of the new SAT Writing Test.” Conference on College Composition and
            Communication. San Francisco. March 17, 2005.
        25. “Spanish, English and the New Nativism.” Modern Language Association. Philadelphia. Dec. 30,
            2004.
        26. “Reading and Writing in the Digital Age.” Invited presentation. Illinois Library Association,
            Chicago, September 30, 2004.
        27. “Language Policies and Language Politics in the United States.” “English and Minority Languages
            in the 2000 Census.” Invited lectures, Univ. of Ryukyu, Okinawa, Japan, June, 2004.
        28. “TeknoFear.” Invited lecture, Northeastern Illinois University, April 15, 2004.
        29. “Standards: They’re Not for Everybody.” Conference on College Composition and
            Communication. San Antonio, TX, March 25, 2004.
        30. “The New Technologies of the Word.” Plenary lecture. International Association of World
            Englishes Conference, Univ. of Illinois, October 17, 2002.
        31. “Writing Effective Promotion Dossiers,” Provost’s Seminar, Univ. of Illinois, Sept. 7, 2001.
        32. “Promotion and Tenure,” a workshop for new executive officers, Association of Departments of
            English seminar, Monterey, California, June 29, 2001.
        33. “From Pencils to Pixels: The New Technologies of Literacy.” Invited lecture, UC Davis, March 2,
            2001.
        34. “The Illinois Professional Learning Partnership.” Conference on College Composition and
            Communication, Denver, CO, March 15, 2001.
        35. “Writing Effective Third-Year Faculty Reviews,” Provost’s Seminar, Univ. of Illinois, Feb. 26,
            2001.
        36. “Outreach for the Humanities,” response to Graham Spanier; Chancellor’s Conference, Univ. of
            Illinois, Jan. 31, 2001.
        37. “Other Teachers’ Students.” Conference on College Composition and Communication,
            Minneapolis, MN, April 15, 2000.

        Recent Media Interviews

        1.  Interviews for What’s Your Pronoun? 2020-21: CBS Radio (NYC); NPR Weekend All Things
            Considered; CAP Radio (Sacramento, CA); Wisconsin Public Radio; KPBS San Diego; KWGS,
            Tulsa, OK; Slate: The Gist; KERA Radio; KATU TV, Portland, OR; KQED, San Francisco Public
            Radio; KPCC, Los Angeles; Talk the Talk (podcast); The Vocal Fries (podcast); That Word Chat
            (podcast).
        2. “Tapestry,” CBC-Radio “The Longing for Belonging,” interview on pronouns, June 28, 2018.
        3. “Air Talk,” Larry Mantle, KPCC-NPR Los Angeles, Pronouns, Mar. 6, 2018.
        4. “Do Official English laws work?” interview, KCBS, San Francisco. Aug. 24, 2017.
        5. “Latinos in America.” PBS documentary, aired October, 2013.
        6. Various radio appearances on WILL-AM discussing language issues 1984-present.
        7. “Extension 720” with Milt Rosenberg. WGN radio, Oct. 16, 2009. 2-hour interview about A Better
            Pencil.
        8. Steve Fast, “The Classroom Connection” Oklahoma Public Radio, interview about A Better
            Pencil. Oct. 1, 2009.
        9. Valerie Richardson Show. WPKN, Bridgeport CT, April 21, 2009. Half-hour interview about my
            work on usage and on technology.
        10. Jim Brown, “The Current.” CBC-Radio, Canada. July 15, 2008. Interview on Esperanto.
        11. “The Peter Laufer Show”, Green Radio 960 (San Francisco). 60 min. interview on Broadcast
            English, Dec. 28, 2008.
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         12. “Official English in Small Town America,” Eight Forty-Eight, WBEZ-FM (Chicago public radio),
             June 13, 2007. Lead interview for the show, also featured on the WBEZ web site:
             http://www.wbez.org/Program_848_Segment.aspx?segmentID=11395
         13. “The English Language.” Focus 580, WILL-AM, multiple appearances each year from 1982-
             present.
         14. “Good English.” The Robin and Maynard Show. KQBZ-FM (Seattle), May 3, 2005.
         15. “Pronunciation in American English.” Interview by Avi Arditti and Roseann Skirble broadcast on
             “Coast to Coast” by Voice of America (4/24/03); posted on voanews.com/wordmaster.
         16. “The English Language,” The Joan Rivers Show, WOR-AM, New York, June 25, 2001.
         17. “The New Oxford Dictionary of English,” “Sandy Rios Live,” WYLL-FM, Chicago, Aug. 14,
             1998.

         Editorships and Commissions:

             Chair, Committee on Public Policy, Conference on College Composition and
                      Communication, National Council of Teachers of English, 2003-06.
             Member, Board of Advisors for the television series “Do You Speak American?” with
                      Robert MacNeil.
             Member, PMLA Advisory Committee, 1998-2001.
             Member, editorial advisory board, Liverpool Studies in Language and Discourse, 1993-
                      present.
             Member, MLA Delegate Assembly, 1998-2003.
             Chair, MLA Division on Language and Society, 2001-02.
             Member, Commission on Language, National Council of Teachers of English, 1984-87;
                      1999-2002.
             Editor, Publication of the American Dialect Society (monograph series) 1984-93.
             Member, Committee on Language and the Schools, Linguistic Society of America, 1992-
                      1997.
             Associate Editor, Publication of the American Dialect Society, 1982-84.


     Memberships in Professional Organizations:

         American Dialect Society (life member; member, Committee on New Words, 1975-82;
              member, Committee on Usage, 1982-present; member, Centennial Publications
              Committee; Centennial Publicity Committee; Centennial Documentaries Committee).
         Modern Language Association (member, Delegate Assembly, 1996-99).
         National Council of Teachers of English (member, Commission on the English Language,
              two terms). Chair, Committee on Public Language, 2009-12.
         Conference on College Composition and Communication.
         Conference of Editors of Learned Journals, 1985-93.
         Linguistic Society of America; member, Committee on Language in the Schools, 1992-94.
         Illinois Association of Teachers of English (member, program committee, 1987-88).

     Biographical Notices:

             Who’s Who in America
             Directory of American Scholars
             Contemporary Authors
             Who’s Where Among Writers
             International Authors and Writers Who’s Who
             International Linguistic Directory
             Who’s Who in American Education
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            Who’s Who in the World
            Who’s Who in the Humanities

     Consulting:

            Legal consulting and expert witness reports and testimony for a variety of law firms and
            for the Sate of California Attorney General..

            Media consulting for television, radio, and newspapers, including ABC’s Nightline,
            Champaign-Urbana News-Gazette, The Chicago Tribune, Cincinnati Enquirer, Los
            Angeles Times, The McNeil-Lehrer Report, The New York Times, Newsweek, Orlando
            Sentinel, Prentice-Hall, Scripps-Howard Newspapers, Scott-Foresman, Inc., Springfield
            (IL) Register, USA Today, U.S. News and World Report, WICD-TV (Champaign, IL),
            William Safire.

            Professional consulting for numerous academic and university presses.
